                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                              DANVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )       Case No. 4:04-cr-70083
                                             )
ANTHOINE PLUNKETT                            )

PETITIONER’S SUPPLEMENTAL REPLY TO U.S. RESPONSE TO MOTION
             TO RESENTENCE UNDER 28 U.S.C. § 2255

      Petitioner Anthoine Plunkett, through undersigned counsel, asks the Court to

set aside the judgment in this case on Count Five and resentence him on Count Four

pursuant to 28 U.S.C. § 2255. As conceded by the government, Resp. to § 2255 Mot.,

ECF No. 997, at 12, Mr. Plunkett’s convictions on Counts Four and Five are

connotationally infirm in light of the Supreme Court’s decisions in Apprendi v. New

Jersey, 530 U.S. 466 (2000) and United States v. Davis, 139 S.Ct. 2319 (2019). The

government avers that Mr. Plunkett need not be resentenced for the Apprendi error

in Count Four in the interests of judicial economy. However, as Mr. Plunkett is

entitled to be resentenced on Count Five after Davis, it is not conserving judicial

resources to refuse to correct another unconstitutional sentence. Thus, the erroneous

sentence under Apprendi should be vacated as well.

                                  ARGUMENT

      Sentences should be constitutional and free of error. Where a court is

conducting a resentencing, there is simply no justification for remedying one

constitutional error and not another.
    I.   Count Five Error

         18 U.S.C. § 924(c)(3) imposes enhanced penalties for using a firearm in

connection to a predicate “crime of violence.” The relevant portion of § 924(c) defining

a “crime of violence” has two clauses: the force clause, § 924(c)(3)(A), and §

924(c)(3)(B), the “residual clause.” In United States v. Davis, 139 S.Ct. 2319 (2019),

the Supreme Court held that the residual clause in § 924(c)(3)(B) is void for

vagueness, noting that “this language, read in the way nearly everyone (including the

government) has long understood it, provides no reliable way to determine which

offenses qualify as crimes of violence.” Davis, 139 S. Ct. at 2324.

         Without the residual clause, to determine whether an offense qualifies as a

crime of violence under 18 U.S.C. § 924(c)(3)(A), under the categorical approach 1 an

offense qualifies as a crime of violence only if a necessary element of the offense

includes the use, attempted use, or threatened use of physical force as described in

the force clauses of § 924(c)(3)(a) and § 16(a). Leocal v. Ashcroft, 543 U.S. 1, 7–10,

(2004); United States v. Simms, 914 F.3d 229, 233 (4th Cir. 2019) (“When a statute

defines an offense in a way that allows for both violent and nonviolent means of

commission, that offense is not ‘categorically’ a crime of violence under the force

clause.”) As conceded by the government, because the predicate offense Mr. Plunkett

was convicted of is not categorically a “crime of violence,” the 924(c) conviction in




1The categorical approach focuses “on the elements of the prior offense rather than
the conduct underlying the conviction.” United States v. Cabrera-Umanzor, 728 F.3d
347, 350 (4th Cir. 2013) (citation omitted); United States v. McNeal, 818 F.3d 141,
151–52 (4th Cir. 2016). See also Davis at 2326.


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Count Five must be vacated.

II.   Count Four Error

      Under the Supreme Court’s decision in Apprendi v. New Jersey, 530 U.S. 466

(2000), any aggravating circumstance that increases the maximum penalty must be

charged in the indictment and proven to the jury. Apprendi, 530 U.S. at 490. It is

intrinsic to the constitutional guaranty of due process to “protect[ ] the accused

against conviction except upon proof beyond a reasonable doubt of every fact

necessary to constitute the crime with which he is charged.” In re Winship, 397 U.S.

358, 364 (1970)).

      Count Four can only result in a mandatory minimum life imprisonment “if

death results” from interstate stalking. 18 U.S.C. § 2261(b)(1). The other penalty

provisions provide a maximum imprisonment of 20 years for life-threatening bodily

injury or permanent disfigurement, 10 years for serious bodily injury, and 5 years if

no aggravating circumstances are determined by a jury.

      Mr. Plunkett was sentenced to life imprisonment under Count Four without

the jury having found any aggravating circumstance. This was in violation of the

Constitution and Apprendi, which had already been decided at the time of trial and

sentencing. This is not an insignificant error, especially given the penalty:

      [T]o guard against a spirit of oppression and tyranny on the part of
      rulers,” and “as the great bulwark of [our] civil and political liberties,”
      trial by jury has been understood to require that “the truth of every
      accusation, whether preferred in the shape of indictment, information,
      or appeal, should afterwards be confirmed by the unanimous suffrage of
      twelve of [the defendant's] equals and neighbours....




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Apprendi, 530 at 477 (quoting 2 J. Story, Commentaries on the Constitution of the

United States 540-541 (4th ed. 1873) and 4 W. Blackstone, Commentaries on the

Laws of England 343 (1769)) (internal citations omitted).

      The government, which raised the Apprendi error in its response to Mr.

Plunkett’s § 2255 petition, urges the court not to resentence Mr. Plunkett based on

that error under the “concurrent sentence doctrine.” United States v. Charles, 932

F.3d 153, 155 (4th Cir. 2019). The Fourth Circuit has recognized “that to help promote

the overall functioning of our justice system, courts should “conserve judicial

resources by ... cleans[ing] the judicial process of prejudicial error without becoming

mired in harmless error.” Id. at 158–59 (4th Cir. 2019) (quoting United States v.

Hasting, 461 U.S. 499, 501 (1983)). However, the decision not to resentence on an

erroneous count does not automatically result in conserving judicial resources; the

Fourth Circuit in Charles remanded the case to the district court to determine

whether the First Step Act applied to the sentence. 932 F.3d at 162.

      There is no reason to gamble with whether law or precedent will change before

fixing the unconstitutional Apprendi error in Mr. Plunkett’s sentence; especially as

judicial resources are not at stake. What is “[a]t stake in this case are constitutional

protections of surpassing importance: the proscription of any deprivation of liberty

without ‘due process of law[.]’” Apprendi, 530 U.S.at 476–77 (internal citations

omitted). Given that the “Constitution gives a criminal defendant the right to

demand that a jury find him guilty of all the elements of the crime with which he is

charged,” United States v. Gaudin, 515 U.S. 506, 511 (1995), and the court must




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already vacate Mr. Plunkett’s conviction under Count Five, Count Four should also

be constitutionally correct. As the jury found no aggravator for Count Four, the

appropriate sentence is five years.

                                   CONCLUSION

      For the reasons set forth above, Mr. Plunkett respectfully asks this Court to

vacate his § 924(c) conviction, and to re-sentence him to five years for his Count Four

conviction under § 2261.

                                              Respectfully submitted,

                                              ANTHOINE PLUNKETT

                                               /s Arin Melissa Brenner

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                             CERTIFICATE OF SERVICE

       I hereby certify that on the 2ND day of November, 2022, I electronically filed the

foregoing Motion with the Clerk of the Court, using the CM/ECF system, which will

send notification of such filing to all counsel of record.

                                                 /s Arin Melissa Brenner
